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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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 MEDTRONIC, INC.,
                                                                  Case No.: 1:23-cv-10057-VSB
                                       Plaintiff,
      -against-                                                   CORPORATE DISCLOSURE
                                                                  STATEMENT
 BIOGEN MA INC.,

                             Defendant.
 ________________________________________________


                            PLAINTIFF MEDTRONIC, INC.’S
                         CORPORATE DISCLOSURE STATEMENT

       Pursuant to Federal Rule of Civil Procedure 7.1, Plaintiff Medtronic, Inc. (“Medtronic”),

by its undersigned counsel, states: Medtronic plc is a public company that indirectly wholly

owns and is the ultimate parent of Medtronic, Inc.; no other publicly traded company owns 10%

or more of its stock; and Medtronic Inc. is a citizen of the State of Minnesota.

DATED:            November 2, 2023
                  Albany, New York                    HINCKLEY, ALLEN & SNYDER LLP

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